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1                          UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
2                                HOUSTON DIVISION
3
4     LADDY CURTIS VALENTINE AND     .         4:20-CV-01115
      RICHARD ELVIN KING,            .         HOUSTON, TEXAS
5                                    .         MAY 8, 2020
           PLAINTIFFS,               .         11:00 A.M.
6     VS.                            .
                                     .
7     BRYAN COLLIER, ET AL,          .
                                     .
8          DEFENDANTS.               .
      ................................
9
10                     TRANSCRIPT OF TELEPHONE CONFERENCE
                      BEFORE THE HONORABLE KEITH P. ELLISON
11                         UNITED STATES DISTRICT JUDGE
12
13
14                                   APPEARANCES
15
16
      FOR THE PLAINTIFFS:
17
            Jeffrey S. Edwards
18          THE EDWARDS LAW FIRM
            1101 East 11th Street
19          Austin, Texas 78702
20
21          John R. Keville
            Brandon W. Duke
22          Cori Hockman
            WINSTON STRAWN
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24          Houston, Texas 77002
25
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1                              APPEARANCES CONTINUED

2
3
4     FOR THE INTERVENOR PLAINTIFF JOHN BALENTINE:
5           David R. Dow
            UNIVERSITY OF HOUSTON
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8
      FOR THE DEFENDANTS:
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            Room 8004
17          Houston, Texas 77002
            713-250-5787
18
19
20    Proceedings recorded by mechanical stenography. Transcript
      produced by computer-aided transcription.
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        1                                    PROCEEDINGS
        2                THE COURT: Good morning and welcome to all of you.
        3     Let's just go through appearances of counsel one more time for
        4     my benefit in Valentine versus Collier.
11:01   5          (Simultaneous cross talk)
        6                THE COURT: I got Mr. Keville's name. Who else?
        7                MR. EDWARDS: Jeff Edwards also on behalf of the
        8     plaintiffs, Valentine and King.
        9                THE COURT: Does anybody else want to speak for the
11:01   10    plaintiffs?
        11         (No response)
        12               THE COURT: For defendant?
        13               MS. VASQUEZ: Christin Vasquez and Jeff Farrell for
        14    the defendant.
11:02   15               THE COURT: Let me just see if we can get a progress
        16    report before we get into anything else.
        17                     Can you update us, Ms. Vasquez and Mr. Samuels
        18    (sic) on how many inmates at the Pack Unit have now been tested
        19    for the COVID-19 virus?
11:02   20               MS. VASQUEZ: I do not have specific numbers, Your
        21    Honor.
        22               THE COURT: Who would have those numbers?
        23               MS. VASQUEZ: Someone at TDCJ.
        24               THE COURT: Well, how many inmates at the Pack Unit
11:02   25    have tested positive for the virus?
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11:02   1                MS. VASQUEZ: I don't know, Your Honor.
        2                THE COURT: Have there been any more deaths from the
        3     virus?
        4                MS. VASQUEZ: I believe there have, Your Honor. I
11:03   5     don't know specifics.
        6                THE COURT: This is pretty basic information, isn't
        7     it?
        8                MS. VASQUEZ: Yes. My general knowledge is there have
        9     been, but I don't know specifics.
11:03   10               THE COURT: Do the plaintiffs have any knowledge of
        11    any of those three things; testing, positive results or deaths?
        12               MR. EDWARDS: Your Honor, this is Jeff Edwards. I do
        13    not have the specific information, but I feel confident someone
        14    on the call could at least get to the website to do that.
11:03   15                     We are aware through publicly -- through public
        16    documentation from TDCJ that more than a week ago, there was
        17    another COVID-19 person diagnosed at the Pack Unit, and there
        18    have been reports in the media that there have been others.
        19                     My understanding is that there have been numerous
11:04   20    deaths reported from the press and the TDCJ systemwide and
        21    hundreds of -- and maybe even more than 1,000 COVID-19
        22    instances amongst correctional officers and inmates.
        23               THE COURT: I saw one story in the press that put the
        24    number of positive inmates at 70 percent of some of the state
11:04   25    prisons and I just -- I know there is a website, but press
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11:04   1     stories and websites, nobody takes ownership of those facts. I
        2     need somebody to tell me who knows, and is willing to stand
        3     behind that knowledge, how many people we have in this
        4     category. I would rather not have to go to a website with no
11:05   5     authorship or press story with --
        6                MR. DUKE: Your Honor, this is Brandon Duke. I just
        7     jumped on the call for the plaintiffs. I just want to inform
        8     the Court that the Fifth Circuit has asked for this specific
        9     information by Monday from defendants. Obviously it's
11:05   10    different counsel before the Fifth Circuit, but we understand
        11    that TDCJ is supposed to be providing this in a day or a few
        12    days to the Fifth Circuit, so I hope that they can provide this
        13    same information to the Court.
        14               THE COURT: Yeah. I saw that -- I saw the paperwork
11:05   15    on that. I'm just surprised that no one came to this hearing
        16    possessed with that information.
        17                     Okay. We had originally set this hearing in
        18    advance to see -- to have a date on the calendar at which we
        19    could talk about Rule 26(f) disclosures and case management, a
11:06   20    case management plan. We were going to pull it down if there
        21    were agreement between the parties, and I see there has not
        22    been an agreement of parties. So let's talk about whatever we
        23    need to discuss on the discovery case management plan.
        24               MR. EDWARDS: Your Honor, this is Jeff Edwards. I
11:06   25    think the first issue that's most important is when the Court
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11:06   1     wishes to proceed to trial. And then the second issue is when
        2     discovery can begin and, in particular, what experts would have
        3     to be designated.
        4                      It is the plaintiffs' position that, given the
11:06   5     importance of this case and the imminence of harm, that we
        6     should expedite the trial. We proposed a July 6 trial date,
        7     and in order to make that feasible, we propose that we would
        8     designate our experts next week on the 15th and that the
        9     defendants would designate their experts three weeks later.
11:07   10                     Also, in order to make that work, we propose
        11    expediting discovery. Instead of 30 days to respond to
        12    documents and interrogatory requests, we have asked that that
        13    be limited to 15 days.
        14                     And, finally, the biggest issue -- another issue
11:07   15    that we are going to have to deal with is the defendants have
        16    sought to stay discovery. Obviously, the plaintiffs are
        17    opposed to that, and I imagine we are going to be before the
        18    Court trying to force people with knowledge at the highest
        19    levels to testify. That's going to bring into play the issues
11:07   20    relating to the intervention and how that demanded discovery in
        21    this case. But I think from a starting point, what the Court's
        22    position on trial and when that should be will dictate, I
        23    think, some of the defendant's responses.
        24                     We are not comfortable waiting until November to
11:08   25    try this case given the potential outcome.
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11:08   1                      Thank you, Your Honor.
        2                THE COURT: Mr. Samuels or Ms. Vasquez, do you want to
        3     speak to that?
        4                MS. VASQUEZ: Yes, Your Honor. We propose a November
11:08   5     trial date. That is still an expedited schedule. Given the
        6     appeal, the motions to dismiss on file, the number of
        7     depositions and the level of officials the plaintiffs have
        8     stated that they want to depose during the height of this
        9     pandemic, it is going to take some time to pull those people
11:08   10    away.
        11                     Also, there is this looming intervention and
        12    defendants -- you know, once the plaintiffs file a motion to
        13    certify a class, we think it would be appropriate to bifurcate
        14    discovery. I think that all that needs to be done in this case
11:09   15    is going to take until November to complete.
        16                     Also, with regard to the expedited discovery, I
        17    told Mr. Edwards we would be willing to expedite discovery to
        18    an extent, but without seeing the number of requests that are
        19    being propounded at any given time, we can't agree to a
11:09   20    flat-out date that we can respond by. I think it would just
        21    have to be dependent on how much discovery they are requesting
        22    at any given time.
        23               THE COURT: Was that the only disagreement about --
        24    that emerged from the Rule 26 discussions? Or do we need to
11:09   25    talk about others?
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11:09   1                MR. EDWARDS: No. There are other issues. Well,
        2     there are issues as to whether or not the protective order in
        3     the Cole case, whether information and details can be shared
        4     with co-counsel Winston Strawn. The defendant's position is
11:10   5     unless we specify the exact document and the exact piece of
        6     information, they are unable to agree to us sharing information
        7     with our co-counsel. You know, I'm sorry to have to bring this
        8     to the Court, but, you know, we think it is very important that
        9     any information that we happen to have because of knowledge of
11:10   10    inmates' medical conditions at the Pack Unit and those class
        11    members, that we are able to discuss freely with co-counsel
        12    solely for use in this case.
        13                     Again, I apologize to the Court that we need to
        14    involve you in this, but we do, because the refrain we get from
11:10   15    the defendants is, We will consider what you ask. It is never
        16    no and it is never yes. It is only, We will take that to our
        17    clients and consider it. And, again, given the timing and the
        18    importance of that, we can't be in a position to be dealing
        19    with that anymore, which is why the request for an expedited
11:11   20    deadline of 15 days, rather than 30, as a starting point is so
        21    important.
        22                     Again, this is exactly how the conversation will
        23    go in the future if we adopt Ms. Vasquez's proposal: There's
        24    too many, we can't make the deadline, we will consider it, we
11:11   25    will get back to you. But ultimately the decision is going to
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11:11   1     be no.
        2                      Again, if there are voluminous requests that they
        3     need more time on, obviously reasonable extensions will be
        4     appropriate, but the starting point has to be: This is
11:11   5     important and it needs to be expedited.
        6                      Those are really the only extra issues though.
        7     We would ask the Court to comment though on our ability to
        8     share information with our co-counsel, Winston Strawn, without
        9     fear of violating a potential protective order.
11:12   10               THE COURT: What we talking about is the information
        11    that was provided in the Cole versus Collier case? Is that the
        12    universe of information we are talking about?
        13               MR. EDWARDS: Yes, Your Honor. Just that number.
        14               MS. VASQUEZ: May I respond, Your Honor?
11:12   15               THE COURT: Yes. Yes. By all means.
        16               MS. VASQUEZ: Thank you.
        17                     Your Honor, this isn't a motion to certify the
        18    class in this case. Currently it only pertains to plaintiffs
        19    Valentine and King. TDCJ would agree to give the plaintiffs
11:12   20    their own medical records.
        21                     We have been asking since they filed their motion
        22    to modify the protective order three weeks ago to designate
        23    Bates pages that they want to duplicate for this case, and
        24    maybe we could agree. Last night, I finally received some
11:12   25    Bates pages, and they included some photos. The photos -- four
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11:12   1      of the photos were from UTMB. They are not a part of this
        2      protective order that the plaintiff sought to modify. The
        3      remaining photos are -- they were taken five years ago during
        4      the heat litigation. I think that at least some of them don't
11:13   5      accurately depict the Pack Unit, although I don't think that
        6      TDCJ is going to argue that they are confidential. I think
        7      that they are fine with letting the other lawyers see those
        8      photos, just with the understanding that they may be different
        9      than the representations of the Pack now.
11:13   10                THE COURT: Are you asking the Court -- are you asking
        11     the plaintiffs to bring their motion to certify now before
        12     discovery starts?
        13                MS. VASQUEZ: I'm saying that I think that a motion to
        14     certify the class, if they are looking for class discovery,
11:13   15     that's what would need to be done.
        16                THE COURT: Well, I'm sure that could be done.
        17                     Yes. Go ahead.
        18                MR. EDWARDS: I'm sorry. Would defendant's counsel
        19     stipulate that they will begin discovery as soon as that motion
11:14   20     is filed?
        21                MS. VASQUEZ: We still would stand on our motion to
        22     stay given the pending interlocutory appeal and the 12(b)
        23     motion.
        24                THE COURT: So you think that the 12(b) motion needs
11:14   25     to be resolved and the interlocutory appeal resolved before you
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11:14   1      do any discovery?
        2                 MS. VASQUEZ: Yes, Your Honor, in order to narrow the
        3      issues so we know what we are moving forward on.
        4                 MR. EDWARDS: Your Honor, this is Mr. Edwards.
11:14   5                      Does that merit a response?
        6                 THE COURT: Yeah. Go ahead. I don't know how we are
        7      going to decide class certification without doing some
        8      discovery.
        9                      Mr. Edwards?
11:14   10                MR. EDWARDS: To the extent it matters, the issues of
        11     class discovery and merits discovery are going to greatly
        12     overlap. We are talking about the uniform policies in play and
        13     how they are being implemented at the Pack Unit. The case is
        14     about deliberate indifference. It is going to involve senior
11:15   15     leadership at TDCJ on class-wide discovery and merits
        16     discovery. You know, the rigorous analysis that needs to be
        17     done for class certification discovery, you know, really
        18     commonality and typicality are going to be almost givens in
        19     this case and so really it's adequacy of the actual plaintiffs
11:15   20     in this case. And the Court has already heard testimony and,
        21     you know, while my opinion may not be dispositive, you know, it
        22     will be difficult for me to imagine a situation where they
        23     weren't knowledgeable of the litigation and actively engaged in
        24     such that they are adequately representing the interests of the
11:16   25     class.
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11:16   1                      While class certification is obviously important,
        2      we can have a motion on file very quickly, if that's necessary,
        3      but it's really not because there is nothing in the law that
        4      prevents discovery while a pending motion to dismiss is on file
11:16   5      in an injunctive relief case. There simply isn't any. And,
        6      you know, we routinely litigate against the Attorney General's
        7      office, TDCJ, UTMB and never are -- rarely are stays even
        8      sought, let alone in a case the magnitude of this. But if --
        9      that's why I asked if they would stipulate that they would
11:16   10     begin discovery in the class certification motion.
        11                     What is happening here is the defendants are
        12     putting up, you know, potential hurdles and then just seeking
        13     to find other hurdles. We are way past that point. We had an
        14     injunction hearing. The Court has ruled. While it is on
11:17   15     appeal and there are differing interpretations of what the
        16     Fifth Circuit may do, no one knows what the Fifth Circuit may
        17     do. And we need to take discovery in order to prepare the case
        18     for trial, and so I still think the most important issue before
        19     the Court is how do we get this case tried expeditiously? And,
11:17   20     again, we have put forward a plan to put forth designation of
        21     experts without even taking full discovery to do that, to make
        22     that possible, you know. Obviously, this is a small
        23     consolation, but every lawyer on here has a busy practice, and
        24     we are willing to get this done by July 6th in the interest of
11:17   25     the class.
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11:17   1                      There will be a motion for class certification
        2      filed as soon as the Court wants it to be heard. We probably
        3      will file it as an emergency motion and ask for expedited
        4      relief. But, again, if that is a hurdle that there is actually
11:18   5      something at the end of the day for jumping over it, we will
        6      meet it forthwith or right away. This, again, class
        7      certification isn't really the issue here. The issue is, you
        8      know, are the policies that have been put in place, you know,
        9      the epitome of deliberate indifference in that they are failing
11:18   10     to protect the inmates? And, again, the Court has made its
        11     ruling based on the available evidence. All we are saying is
        12     getting this case to trial as soon as possible is what needs to
        13     happen when the consequences are this serious. And the
        14     defendants again, you know, they are raising points that, you
11:18   15     know, that fail to account for the fact that this is a case of
        16     potential eminent harm. And, you know, we need this
        17     information. Discovery has already been sent on some very key
        18     issues. We need that responded to. And, unfortunately,
        19     without the Court's intervention and some real deadlines, the
11:19   20     response is going to be, We will consider it. Not, We agree or
        21     we refuse, we will just consider it, which is kind of the
        22     slow-playing way that this is happening.
        23                     Again, I'm happy to address any issue related to
        24     class certification, any issue for how to make discovery go
11:19   25     more smoothly. Defense counsel brought up the concern about
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11:19   1      intervenors. We are happy to consolidate discovery with the
        2      potential intervenors without making a determination as to
        3      whether or not ultimately the cases should be tried together.
        4      Counsel for the intervenors may want to weigh in on that issue,
11:20   5      as well as maybe the Attorney General's office. But they can't
        6      on the one hand say, Well, the plaintiffs wish to depose the
        7      senior leaders in TDCJ and they are busy dealing with the
        8      COVID-19 virus and ask for -- you know, when we are willing to,
        9      again, do whatever we can to expedite this discovery, minimize
11:20   10     the burden on those people, so that they can actually help.
        11     But they are the ones who have information. And given that the
        12     case, you know, turns on deliberate indifference, what they
        13     know, when they knew it and what they are doing as a
        14     consequence of it, that's information that we simply have to
11:20   15     have and have to get. And so, you know, with all due respect
        16     to defense counsel, their leadership has to make some time
        17     given these allegations and the Court's findings.
        18                     Thank you.
        19                THE COURT: Ms. Vasquez, it does seem like the Fifth
11:21   20     Circuit believes the critical issue is deliberate indifference.
        21     I don't know how we are to approach that issue other than with
        22     discovery.
        23                MS. VASQUEZ: Your Honor, the Fifth Circuit has not
        24     stated that.
11:21   25                THE COURT: I think they felt like that is what was
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11:21   1      missing from the preliminary injunction. There was a holding
        2      that they are not -- plaintiffs actually pled there was
        3      deliberate indifference. And I think that is -- whether or not
        4      the Fifth Circuit says that, I think that is the ultimate issue
11:21   5      in this case, and I don't know how we approach that other than
        6      by finding facts.
        7                      If you want to, we can stipulate to some facts
        8      and argue about whether those facts constitute deliberate
        9      indifference, but absent that, we need to get some facts.
11:22   10                MS. VASQUEZ: Well, there were facts presented in the
        11     TRO hearing with the evidence attached, but I think, Your
        12     Honor, the point is that the Fifth Circuit is still
        13     contemplating the injunction. And I think that it's
        14     appropriate to wait for their opinion so that we can have some
11:22   15     guidelines to operate off of as well as the pending 12(b)
        16     regarding exhaustion. I think the Fifth Circuit was pretty
        17     clear that the plaintiffs did not seek to exhaust before they
        18     filed the lawsuit, which is dispositive.
        19                THE COURT: Well, there is a lot of law developing on
11:22   20     that issue systemwide with the COVID-19 virus and there is --
        21     there are now some holdings that in the face of this emergency,
        22     exhaustion is not necessary. It seems like a common sense
        23     position. Because if we waited for the plea to go to the
        24     Warden and then the appeal from the Warden, it might mean
11:23   25     serious health effects for inmates while they are waiting to
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11:23   1      get the ruling. I mean, I can't imagine a likelier case for
        2      waiver of administrative exhaustion than this case.
        3                      How long will a complete administrative
        4      exhaustion take? It would be 30 days with the Warden and who
11:23   5      knows how much time for administrative appeal. Right?
        6                 MS. VASQUEZ: Yeah. I think it's a little bit shorter
        7      for this step too, but I would just -- if Your Honor is
        8      inclined to allow some discovery to go forward, I would ask
        9      that it be tailored only to the plaintiffs in this case --
11:23   10     there is no class as we sit here today -- and also tailor it to
        11     issues that are relevant to the 12(b) pending.
        12                THE COURT: How are we going to judge issues of
        13     commonality without some discovery?
        14                MS. VASQUEZ: Your Honor, he hasn't filed his motion
11:24   15     to certify the class yet, so I don't know what kind of class he
        16     is seeking to certify, so I can't answer that. All I know is
        17     that he has two plaintiffs that are named, so I think that at
        18     the very most would be appropriate for discovery with the
        19     12(b)s pending.
11:24   20                THE COURT: I would say that that would have been
        21     appropriate for Rule 26 initial information, that is the basic
        22     info about these named plaintiffs. There shouldn't be a need
        23     for interrogatories or requests for admissions or document
        24     production with the named plaintiffs.
11:24   25                     Can't the defendants just provide that
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11:24   1      information?
        2                 MS. VASQUEZ: Yeah. We will -- I said earlier in the
        3      call, TDCJ will provide the plaintiffs with their medical
        4      records.
11:25   5                 MR. EDWARDS: Your Honor, this is Mr. Edwards. May I
        6      respond briefly?
        7                 THE COURT: Yes, you may. Yes, you may.
        8                 MR. EDWARDS: That sums up the defendant's position.
        9      They don't -- whether it is tactically, or for some other
11:25   10     reason, they are misunderstanding what this case is about.
        11     This case concerns a contagion in the Pack Unit that affects
        12     every member; therefore, discovery as to Mr. Valentine and
        13     Mr. King necessarily includes discovery about who else was
        14     infected, what they are doing in other areas of the prison, the
11:25   15     correctional officers, are the precautions adequate, are there
        16     policies that they are adopting, primarily in the consequence
        17     of this lawsuit, I might say? Are they actually being
        18     enforced? Are the Wardens directing them properly? Those are
        19     fact issues that, again, you can't separate those out based on
11:26   20     whether there is a class certification motion filed or not.
        21     But the mere fact that defense counsel is offering to give
        22     medical records that actually belong to the clients, those
        23     aren't the records we need. We know what their medical
        24     conditions are. We know the effects of that. What we need to
11:26   25     ask questions about are, Well, what do you know about their
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11:26   1      medical conditions? What do you know about generally medical
        2      conditions, how that makes you more vulnerable to the COVID-19
        3      virus? What are you doing that's different at the Pack Unit
        4      given its elderly and vulnerable population? These are
11:26   5      questions that we have to ask. You know, we are planning on
        6      starting the depositions with Warden Herrera, you know, and we
        7      need to do that right away. This isn't a cause for, well,
        8      let's give some medical records to the plaintiffs. Again, they
        9      know our plaintiffs. Our plaintiffs have essentially testified
11:27   10     and been subject to cross-examination already. We are happy to
        11     put them up for a deposition. But the idea that discovery
        12     should stop in this case, again, there is no legal support for
        13     it. And, again, while we can all try to discern what the Fifth
        14     Circuit may or may not do, the fact of the matter is the issue
11:27   15     that was ruled upon was related to the stay. And while the
        16     stay implicates, you know, success -- likelihood of success on
        17     the merits, it is merely advisory. And so, you know, this
        18     Court has heard evidence and, you know, TDCJ made a conscious
        19     choice not to put up witnesses for cross-examination. And
11:27   20     while, you know, in my opinion, that evidenced that they knew
        21     about the problem and there was ample evidence to support a
        22     finding of deliberate indifference. Again, you know, to the
        23     extent they are going to make this argument that they weren't
        24     deliberately indifferent, we have to be permitted to question
11:28   25     them about that to show that they were, unless, as the Court,
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11:28   1      you know, hinted at, the defendants are willing to stipulate
        2      that they knew the COVID-19 outbreak was in the Pack Unit, they
        3      knew the precautions could not stop it from spreading, and they
        4      know that their policies are deficient. Again, I don't imagine
11:28   5      that defendants would stipulate to that. They are not really
        6      willing to stipulate to anything, even benign suggestions. So,
        7      unfortunately, again, the law favors allowing discovery to the
        8      extent it doesn't require us in this particular case to file a
        9      class action as a motion for class certification. All that
11:29   10     that does -- you know, once that happens, then we fall into the
        11     argument from defense counsel, Well, we should bifurcate the
        12     discovery. Bifurcating discovery in this case makes no sense,
        13     you know, because the same questions are going to be asked,
        14     whether or not it is Laddy Valentine individually making his
11:29   15     ADA claim or 1983 claim or as a class rep or as an individual
        16     plaintiff. The same questions, the same concerns.
        17                     The only thing that it potentially implicates is
        18     broader issues in other prisons, but even that really isn't the
        19     case because one of the allegations here is that TDCJ brought
11:29   20     prisoners into the Pack Unit from other facilities and that
        21     correctional officers came from other facilities. So even
        22     those other facilities as to Mr. Valentine and Mr. King's
        23     individual claims are relevant. They become especially
        24     relevant when you get into the situation of class discovery and
11:30   25     all of the different inmates and all of the different
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11:30   1      movements.
        2                      There are -- there is work to be done by defense
        3      counsel in this case in terms of identifying the inmates,
        4      telling us who has been infected, telling us what testing, if
11:30   5      any, has been done, and they simply don't want to do it. They
        6      won't even tell us the second confirmed, identified inmate who
        7      got COVID. Worse than that, I think their argument is going to
        8      be, Well, we moved that person to another facility; therefore,
        9      it's not relevant. So there is a bit of a potential show game
11:30   10     happening here that we need to delve into. And, so, again,
        11     discovery is vital in this case. It goes to the heart of the
        12     claims under class certification principles or just individual
        13     principles. We are entitled to it, and, again, it goes to the
        14     core of the case. And we would ask that it begin immediately;
11:31   15     that their motion to stay discovery be denied and that we be
        16     permitted to do discovery and that the Court seriously consider
        17     the competing proposals. Their proposal is: Do it the same
        18     way with a trial in November. Ours is: It's too important.
        19     We need to expedite the deadlines and the designation periods
11:31   20     and move as quickly as possible. All that being said, we are
        21     happy to minimize the burden on executive leaders by, you know,
        22     coordinating discovery with other cases, if that is of any
        23     benefit to the other side. But what can't be done is they
        24     can't on the one hand say, The crisis is an emergency, all of
11:31   25     our leadership needs to devote 100 percent of their time to it,
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11:31   1      it is so important, and then deny the obvious, which is, we
        2      agree on that, but what are you doing about it? We need to
        3      have a trial about it to see if what is being done adequately
        4      protects the inmates or if it is indifferent. They want to
11:32   5      just say, Hey, it's an emergency; therefore, we don't have to
        6      pursue the case. That can't be permitted.
        7                      Thank you, Your Honor.
        8                 THE COURT: Can't we resolve a lot of this
        9      disagreement and couldn't we save a lot of time for TDCJ
11:32   10     executives, the lawyers and those who will look at the
        11     documents if we just had a few simple stipulations?
        12                     Couldn't we stipulate that in a prison, there is
        13     no way possible to keep all the inmates at least six feet
        14     apart? Couldn't we stipulate that meals and showers and many
11:32   15     recreational activities are done in groups where some mixing
        16     among inmates is inevitable? Couldn't we likewise agree on how
        17     many tests have been administered and what the results of those
        18     tests are? All of this I can see saving us a lot of time in
        19     depositions and saving us a lot of time in discovery.
11:33   20                     Is that not possible, Ms. Vasquez?
        21                MS. VASQUEZ: That might be possible, Your Honor.
        22                THE COURT: That's the kind of thing I was hoping --
        23     go ahead.
        24                MS. VASQUEZ: I was going to say at the same time,
11:33   25     Your Honor, the plaintiffs, they are trying to get class-wide
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11:33   1      discovery before they have even filed the motion to certify the
        2      class. Also, they want the protective order in Cole applied to
        3      Valentine, but they won't even give us documents they want to
        4      use. They are trying to skip the entire process and -- at our
11:33   5      expense, so, I think, Your Honor, I think it would be
        6      appropriate to require the plaintiffs to go through the proper
        7      steps in order to get the information that they need, require
        8      both of us to go through the proper steps.
        9                 THE COURT: But what I'm saying is if we stipulated to
11:34   10     a few simple and, I think, self-evident facts, we could show
        11     commonality, we could show numerosity, we could show adequacy
        12     of representation. I mean, it is such -- discovery is always
        13     burdensome, and it is particularly burdensome when the same
        14     results could be achieved by agreeing on self-evident facts. I
11:34   15     understand no senior executive likes to be made a deponent in
        16     every case that's filed. I understand that. I think we can
        17     get to a place where depositions either could be omitted or
        18     sharply curtailed if we could just agree on facts on the
        19     ground. I know producing hundreds of thousands of documents is
11:34   20     very time consuming and very expensive. As a taxpayer, I'm not
        21     inclined to put the state through that expense, but we need
        22     to -- as lawyers, we need to generate some options so that we
        23     can avoid all of that.
        24                MS. VASQUEZ: Yes, Your Honor. I lost my train of
11:35   25     thought.
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11:35   1                 THE COURT: Talking about stipulations, whether we
        2      could avoid having to take the time of your senior executives,
        3      whether we could avoid having to produce these hundreds of
        4      thousands of documents.
11:35   5                 MS. VASQUEZ: Yes. I think this whole conversation is
        6      a bit premature because we don't even know what kind of class
        7      or subclasses the plaintiffs want to certify. So while this
        8      conversation might be fruitful, we don't even -- there is no
        9      motion to certify the Pack, Your Honor. I don't know what they
11:35   10     are trying to certify.
        11                THE COURT: I don't think it's a mystery. I think you
        12     could look at what was alleged in the motion to certify the
        13     class in the Cole versus Collier case and get a pretty good
        14     idea. We have a limited population in a certain space, subject
11:36   15     to common administration, worried about a common threat. I
        16     don't think it is going to be complicated to figure out what
        17     the class allegations --
        18                MS. HOCKMAN: If I might, Your Honor?
        19                THE COURT: Who is speaking, please?
11:36   20                MS. HOCKMAN: This is Cori Hockman for the plaintiffs.
        21                THE COURT: Yes, ma'am?
        22                MS. HOCKMAN: I can refer the defendants to page 24 of
        23     our complaint which begins our class action section. It
        24     outlines who the class is, who our subclasses are, and it goes
11:36   25     through each of the four requirements for class certification
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11:36   1      and gives some insight into what we plan to argue in our class
        2      certification motion.
        3                 THE COURT: I don't think we need to harbor or
        4      entertain any doubt about what the case consists of. If we
11:37   5      need a motion -- I really don't think this dispute hinges on
        6      whether a motion has been filed. In class action, there is
        7      always attention to, Do you try to do some discovery before you
        8      file your motion to certify and risk being met with the
        9      argument that it is premature? Or do you wait and not do any
11:37   10     discovery before class certification and be met by the argument
        11     that you haven't shown any estimable hypothesis, any raw facts,
        12     any current data to support the request for class
        13     certification? It is always a little bit of a dilemma when you
        14     file a motion to certify.
11:37   15                     But I do believe -- from what I have heard in
        16     this hearing and others, I do believe the state is going to be
        17     ready to make an argument that there are no facts to support
        18     the class allegations, and that's what I'm trying to
        19     anticipate.
11:38   20                     Are you willing to stipulate the fourth criterion
        21     for class action, that representative parties will fairly and
        22     adequately protect the interests of the class? Is that
        23     something you can stipulate to?
        24                MS. VASQUEZ: I'm not prepared to talk about the class
11:38   25     certification issues right now. I was prepared to talk about
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11:38   1      scheduling and the Rule 26(f). I would be happy to have this
        2      discussion, you know, when there is a proper hearing or motion
        3      about it.
        4                 THE COURT: Well, in terms of scheduling and Rule 26,
11:38   5      trying to find a workable schedule is contingent on how many of
        6      these pretty forward factual issues can be agreed in advance.
        7      I mean, if the state is going to argue every step of the way
        8      against certification, I guess they are saying they need a
        9      delayed trial date for that reason. That seems to me unfair to
11:39   10     both say you can't be ready in time and do everything possible
        11     to make sure plaintiffs can't be ready in time. There is just
        12     no need in this case, given the gravitas of the timing issue,
        13     to be in disputes about the simple class action criteria. And
        14     I don't know how you do Rule 26 disclosures without some
11:39   15     sensitivity to what the class issues are.
        16                MS. VASQUEZ: Well, we have -- we appreciate the
        17     gravity of the situation and the expedited need for a schedule,
        18     and given that, we have agreed that November is a good trial
        19     date for all the discovery that does need to be done, also
11:40   20     taking into account the appeal that is pending as well as the
        21     12(b)s that are pending.
        22                THE COURT: Well, there is no prohibition on doing
        23     discovery while a motion to dismiss is pending. Motions to
        24     dismiss are getting to be so common they are almost a feature
11:40   25     of every lawsuit now.
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11:40   1                      I am afraid this has not been productive. I
        2      guess I will just take under advisement rulings on issues as to
        3      Rule 26, particularly the trial date.
        4                      Does anybody else want to say anything?
11:41   5                 MR. DOW: Judge, this is David Dow. I'm representing
        6      the aspiring intervenors. And just for the sake of making the
        7      record clear and to put a figure into Your Honor's decision,
        8      the intervenors would be prepared to adhere to any discovery
        9      deadlines and other deadlines that are appropriate for the
11:41   10     principal plaintiffs.
        11                THE COURT: Thank you, Mr. Dow.
        12                     Thank you very much, everyone, for your virtual
        13     attendance. You are excused.
        14          (Court adjourned at 11:41 a.m.)
        15                                      * * * *

        16           I certify that the foregoing is a correct transcript from
        17     the record of proceedings in the above-entitled cause.
        18
        19     Date: May 12, 2020
        20
                                          /s/ Mayra Malone
        21                                --------------------------------------
                                          Mayra Malone, CSR, RMR, CRR
        22                                Official Court Reporter
        23
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